Case 1:17-cv-22396-CMA Document 136-1 Entered on FLSD Docket 04/27/2018 Page 1 of 6
Case 1:17-cv-22396-CMA Document 136-1 Entered on FLSD Docket 04/27/2018 Page 2 of 6
Case 1:17-cv-22396-CMA Document 136-1 Entered on FLSD Docket 04/27/2018 Page 3 of 6



             5.    Dismissal of Litigation. Upon the execution of this Settlement Agreement, the

   Parties will jointly file the Joint Stipulation for Dismissal With Prejudice attached hereto as

   Exhibit “A”.

             6.




             7.




             8.




             9.



             10.   Governing Law, Venue and Personal Jurisdiction. The terms and conditions of

   this Settlement Agreement shall be governed, interpreted and construed in accordance with the

   laws of the State of Florida. In any action between any of the Parties to enforce this Settlement

                                                  3
   DM1\8574763 1
Case 1:17-cv-22396-CMA Document 136-1 Entered on FLSD Docket 04/27/2018 Page 4 of 6



   Agreement, the Parties expressly consent to personal jurisdiction in the courts of the State of

   Florida and agree that the the sole and exclusive venue of such action shall be in the United

   States District Court for the Southern District of Florida and, only if that court does not have

   subject matter jurisdiction, the Florida Circuit Court for the Eleventh Judicial Circuit in and for

   Miami-Dade County.

             11.   Enforcement. If either Party brings an action or otherwise proceeds in court to

   enforce any of the provisions of this Settlement Agreement, that party, if it prevails, shall be

   entitled to recover its reasonable attorneys’ fees and costs from the non-prevailing party, through

   appeals.

             12.   Amendment and Waiver. This Settlement Agreement may be amended or

   modified only if any such amendment or modification is in writing executed by both Parties, and

   only such amendments or modifications as are thus made in writing shall be effective and

   binding upon the Parties.

             13.   Severability. If any provision of this Settlement Agreement shall for any reason

   be held to be invalid, unenforceable, or contrary to public policy or any law, the remainder of

   this Settlement Agreement shall not be affected thereby and shall remain in full force and effect.

             14.   Entire Agreement. This Settlement Agreement and the Joint Stipulation for

   Dismissal With Prejudice represents the entire agreement between the Parties as to all matter

   pertaining to the Litigation, the Claims, and this Settlement Agreement. There are no oral

   promises, representations, or other agreements between the Parties related to this settlement, and

   the Parties have not relied on any oral promises, representations, or other agreements between

   the Parties related to this settlement. Any prior negotiations, promises, representations, or oral

   agreements related to this settlement or the terms hereof, not expressly contained herein, are

   deemed waived, void, and unenforceable.

                                                   4
   DM1\8574763 1
Case 1:17-cv-22396-CMA Document 136-1 Entered on FLSD Docket 04/27/2018 Page 5 of 6
Case 1:17-cv-22396-CMA Document 136-1 Entered on FLSD Docket 04/27/2018 Page 6 of 6
